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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN OF TEXAS
                                   HOUSTON DIVISION

KIMA JOHNSON                                    §
     Plaintiff,                                 §
                                                §
v.                                              §
                                                §         CIVIL ACTION NO. 4:21-cv-01173
J.B. HUNT TRANSPORT SERVICES,                   §            JURY TRIAL DEMANDED
INC., RYDER RENTAL TRUCK AND                    §
JOHN DOE                                        §
       Defendants.                              §



              DEFENDANTS J.B. HUNT TRANSPORT SERVICES, INC. AND
                RYDER TRUCK RENTAL, INC.’S NOTICE OF REMOVAL


        Pursuant to 28 U.S.C. § 1441, Federal Rule of Civil Procedure 81, Defendants J.B. Hunt

Transport, Inc. and Ryder Truck Rental, Inc.’s (hereinafter "Defendants") hereby remove to this

Court, the state court action described in Paragraph 1 below. Pursuant to 28 U.S.C. § 1446(a),

Defendants set forth the following "short and plain statement of the grounds for removal."


                                   A. THE REMOVED CASE

     1. The removed case is a civil action filed with the 129th Judicial District Court of Harris

County, Texas, on or about March 10, 2021 styled Kima Johnson v. J.B. Hunt Transport

Services, Inc., Ryder Truck Rental and John Doe; Cause No. 2021-; in the 129th Judicial District

Court of Harris County, Texas (the "State Court Action"). The case arises from the alleged

injuries sustained by Plaintiff from a motor vehicle accident that occurred on or about September

1, 2020 in Harris County, Texas.




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                      B. DOCUMENTS FROM REMOVED ACTION

   2. Pursuant to Local Rule 81 and 28 U.S.C. 1446(a), Defendants attach the following

documents to this Notice of Removal as Exhibit "A":

          i.   An index of matters being filed;

         ii.   All executed service of process;

        iii.   Pleadings asserting causes of action, e.g., petitions, counterclaims, cross actions,
               third-party actions, interventions and all answers to such pleadings;

        iv.    The state court docket sheet; and

         v.    A list of all counsel of record, including addresses, telephone numbers and parties
               presented.


                                C. REMOVAL PROCEDURE

   3. Except as otherwise expressly provided by Act of Congress, any civil action brought in a

State Court of which the district courts of the United States have original jurisdiction may be

removed to the district court of the United States for the district and division embracing the place

where the action is pending. 28 U.S.C. § 1441. The Houston Division of the Southern District

Court of Texas is the United States district and division embracing Harris County, Texas, the

county in which the State Court Action is pending.

   4. Defendants were each served with Plaintiff’s Original Petition on March 18, 2021. Thus,

this Notice of Removal is filed within the time limits specified in 28 U.S.C. § 1446(b).

   5. Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all pleadings and orders in the

State Court Action as of the date of this pleading are attached hereto as Exhibit "A" and

incorporated herein for all purposes.




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       6. Defendants will promptly give all parties written notice of the filing of this Notice of

Removal and will promptly file a copy of this Notice of Removal with the Clerk of the 129th

Judicial District Court of Harris County, Texas, where the action is currently pending.


                                          D. VENUE IS PROPER

       7. The United States District Court for the Southern District of Texas is the proper venue for

removal of the state court action pursuant to 28 U.S.C. § 1441(a) because the 129th Judicial

District Court of Harris County, Texas, is located within the jurisdiction of the United States

District Court for the Southern District of Texas, Houston Division.


                     E. COMPLETE DIVERSITY OF CITIZENSHIP EXISTS

       8. The “forum-defendant” rule provides that a civil action may not be removed to federal

court on the basis of diversity of citizenship jurisdiction “if any of the parties in interest properly

joined and served as defendants are citizens of the State in which such action is brought.” 28

U.S.C. § 1441(b)(2) (emphasis added). Thus, as will be shown below.

       9. This is a civil action that falls under the Court's original jurisdiction pursuant to 28

U.S.C. § 1332 and is one that may be removed to this Court based on diversity of citizenship in

accordance with 28 U.S.C. §§ 1441 and 1446.

       10. As admitted in her Petition, Plaintiff is an individual who resides in Harris County,

Texas. 1

       11. Defendant JB Hunt Transport Services, Inc. is a foreign corporation organized and

existing under the laws of the State of Georgia. Thus, pursuant to 28 U.S.C. § 1332(c)(1), JB

Hunt is not a citizen of the State of Texas.

   1
       See Plaintiff’s Original Petition and First Set of Discovery (“Original Petition”) at 2, ¶ 4.

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   12. Co-Defendant “John Doe” has not been served nor has it answered the State Court

action, and its citizenship has not been determined.

   13. In any event, regardless whether “John Doe” is a “citizen of Texas,” a majority of the

federal courts considering “snap removal”—as Defendants J.B. Hunt Transport, Inc. and Ryder

Truck Rental, Inc. seek here—have held 28 U.S.C. § 1441(b)(2) permits removal if no in-state

defendant has been served. 2

   14. The Southern District of Texas is also one of the jurisdictions recognizing the propriety

of “snap removal” in a case such as this one. 3

   15. Thus, the diversity-of-citizenship requirement is satisfied.

   16. Because Plaintiff is a resident of the State of Texas and Defendant J.B Hunt Transport

Services, Inc. is not, complete diversity of citizenship exists pursuant to 28 U.S.C. § 1332. Thus,

the diversity of citizenship requirement is satisfied.


        F. THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED

   17. A petition alleging extensive personal injury supports finding the amount in controversy

exceeds $75,000. 4 “[A] a court may make ‘common-sense inferences’ about the amount from the

injuries and damages that the plaintiff pleaded.” 5


   2
      E.g., Regal Stone Ltd. v. Longs Drug Stores Cal., L.L.C., 881 F. Supp. 2d 1123, 1128-29 (N.D. Cal.
2012); In re Diet Drugs Prods. Liab. Litig., 875 F. Supp. 2d 474, 477 (E.D. Pa. 2012); Carrs v. AVCO
Corp., Civil No. 3:11-CV-3423-L, 2012 WL 1945629, at *2 (N.D. Tex. May 30, 2012); Watanabe v.
Lankford, 684 F. Supp. 2d 1210, 1219 (D. Haw. 2010); North v. Precision Airmotive Corp., 600 F. Supp.
2d 1263, 1270 (M.D. Fla. 2009).
    3
      Smethers v. Bell Helicopter Textron Inc., Civ. Act. No. 6:16-CV-58, 2017 WL 1277512, *2 (S.D.
Tex. April 3, 2017).
    4
      Hernandez v. USA Hosts, Ltd., 418 F. App’x 293, 294, 295 (5th Cir. 2011) (per curiam) (stating,
“Given the extensive injuries [Emphasis added] alleged . . . and the various damages claimed, it is
facially apparent that the amount in controversy exceeds $75,000. See id.; see also Luckett v. Delta
Airlines, Inc., 171 F.3d 295, 298 (5th Cir.1999) (holding that the amount in controversy exceeded
$75,000 based on extensive injuries [emphasis added] claimed in complaint).”); Pollet v. Sears Roebuck

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    18. Here, Plaintiff’s Petition shows more than $75,000 in controversy, as is shown by a

comparison between the present case and multiple cases holding personal-injury descriptions

showed more than $75,000 in controversy:

                          Petition Allegations from Which It Was         Similar Petition Allegations
     Case Name               Facially Apparent the Amount in                in the Present Case
                               Controversy Exceeded $75,000
Hernandez v. USA • “serious personal injuries to her                    • “extensive and permanent
Hosts, Ltd., 418 F.        back, knees, shoulder and body” 7              injuries” 14
App’x 293, 294, 295
                                                                        • “seriously injured” 15
(5th Cir. 2011) (per
curiam) (fell while • “medical expenses” 8                              • “[p]ast and future medical
exiting a shuttle bus) 6                                                  expenses” 16
                         • “substantial physical pain and
                           suffering” 9                                 • “[p]ast and future pain” 17

                          • “mental anguish . . . emotional • “[p]ast and future . .
                            distress” 10                      suffering   and   mental
                                                              anguish” 18
                                                                        • “[p]ast and future physical
                          • “loss of enjoyment of life” 11                impairment” 19
                                                                        • “[p]ast and future physical
                                                                          disfigurement” 20
                                                                        • “[p]ast lost wages and future
                                                                          loss of earning capacity” 21
                                                                        • “exemplary damages” 22
                                                                        • “such other and further
                                                                          relief, to which she may


and Co., 46 Fed. Appx. 226, 2002 WL 1939917, at *4 (5th Cir. July 18, 2002) (per curiam) (concluding,
“[Plaintiff]’s allegations of injury and damages in her complaint, by their nature and severity, (Emphasis
added). [emphasis added]” supported finding the amount in controversy exceeded $75,000).
    5
      List v. PlazAmericas Mall Texas, LLC, No. CV H-18-4810, 2019 WL 480130, at *2 (S.D. Tex. Feb.
7, 2019) (citing Robertson v. Exxon Mobil Corp., 814 F.3d 236, 240 (5th Cir. 2015).
    6
      418 F. App’x at 294.
    7
      Id.
    8
      Id.
    9
      Id.
    10
       Id.
    11
       418 F. App’x at 294.

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                           • “and, other elements of damages            show         himself       justly
                                                                                  23
                             which will be demonstrated at the          entitled”
                             trial” 12
                           • “property damage” (apparently to
                             worn or carried personal property
                             because Plaintiff fell while exiting a
                             shuttle bus) 13
Gebbia v. Wal–Mart • “injuries to her right wrist, left knee • “extensive and permanent
Stores, Inc., 233 F.3d   and patella, and upper and lower      injuries” 33
880,      883     (5th   back” 25

Cir.2000) (slip and                                          • “seriously injured” 34
fall) 24               • “medical expenses” 26               • “[p]ast and future medical
                                                               expenses” 35
                           • “physical pain and suffering” 27         • “[p]ast and future pain” 36
                           • “mental anguish and suffering” 28        • “[p]ast and future . .
                                                                        suffering   and   mental
                           • “loss of enjoyment of life” 29             anguish” 37


                                                                      • “[p]ast and future physical
                           • “permanent disability”   30                impairment” 38


   14
      Original Petition at 3, ¶ 8.
   15
      Id. at 4, ¶ 12.
   16
      Id.
   17
      Id.
   18
      Id.
   19
      Id.
   20
      Id.
   21
      Id.
   22
      Original Petition at 5, Prayer.
   12
      Id.
   13
      Id.
   23
      Id.
   24
      233 F.3d at 883.
   25
      Id.
   26
      Id.
   27
      233 F.3d at 883.
   28
      Id.
   29
      Id.
   30
      Id.

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                                                                   • “[p]ast and future physical
                           • “permanent . . . disfigurement” 31      disfigurement” 39
                                                                  • “[p]ast lost wages and future
                           • “loss of wages and earning capacity”   loss of earning capacity” 40
                              32
                                                                   • “exemplary damages” 41
                                                                   • “such other and further
                                                                     relief, to which she may
                                                                     show         himself justly
                                                                     entitled” 42
Pollet      v.     Sears • “serious and painful injuries, • “extensive and permanent
Roebuck and Co., 46        including but not limited to severe      injuries” 55
Fed. Appx. 226, 2002       injuries to her face, left elbow, left
WL 1939917, at **1–                                               • “seriously injured” 56
                           hand, and tail bone” 44
4 (5th Cir. July 18,
                         • “past      and     future     medical • “[p]ast and future medical
2002) (per curiam)                     45
                            expenses”                               expenses” 57
(slip and fall) 43
                           • “‘severe physical pain’” 46           • “[p]ast and future pain” 58
                           • “‘suffering and mental anguish’” 47   • “[p]ast and future . .
                                                                     suffering   and   mental
                           • ‘keen mental anguish’” 48               anguish” 59


   33
      Original Petition at 3, ¶ 8.
   34
      Id. at 4, ¶ 12.
   35
      Id.
   36
      Original Petition at 4, ¶ 12.
   37
      Id.
   38
      Id.
   31
      Id.
   32
      Id.
   39
      Id.
   40
      Id.
   41
      Id. at 5, Prayer.
   42
      Id.
   43
      2002 WL 1939917, at *1.
   44
      2002 WL 1939917, at *2.
   45
      Id.
   46
      Id.
   47
      Id.
   48
      Id.

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                           • ‘humiliation and embarrassment’” 49
                           • ‘serious residuals thereof’” 50
                                                                   • “[p]ast and future physical
                           • ‘has been disabled in her daily         impairment” 60
                             activities and has been handicapped
                             in other activities’” 51
                           • ‘residual and permanent disabilities
                             and impairments’” 52                 • “[p]ast and future physical
                                                                    disfigurement” 61

                           • “past and future lost wages and lost • “[p]ast lost wages and future
                             earnings capacity” 53                  loss of earning capacity” 62

                           • “‘these [above] conditions may
                             [emphasis added] continue, worsen, • “exemplary damages” 63
                             or become permanent’” 54
                                                                • “such other and further
                                                                  relief, to which she may
                                                                  show         himself justly
                                                                  entitled” 64
List v. PlazAmericas • “‘severe injuries’” 68                       • “extensive and permanent
Mall Texas, LLC, No.                                                  injuries” 70
CV H-18-4810, 2019
                                                                    • “seriously injured” 71
WL 480130, at **1–4



   55
      Original Petition at 3, ¶ 8.
   56
      Id. at 4, ¶ 12.
   57
      Original Petition at 4, ¶ 12.
   58
      Id.
   59
      Id.
   49
      Id.
   50
      Id.
   51
      Id.
   52
      Id.
   53
      Id.
   54
      Id.
   60
      Id.
   61
      Id.
   62
      Id.
   63
      Original Petition at 5, Prayer.
   64
      Id.

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(S.D. Tex. Feb. 7,                                                    • “[p]ast and future medical
2019) (slip and fall) 65                                                expenses” 72

(Plaintiff pled “‘the                                                 • “[p]ast and future pain,
amount in controversy                                                   suffering   and   mental
in this matter does not                                                 anguish” 73
exceed                                                                • “[p]ast and future physical
$75,000.00,’” 66 which                                                  impairment” 74
is       perhaps     not
surprising       because                                              • “[p]ast and future physical
Daspit Law Firm,                                                        disfigurement” 75
Plaintiff counsel in the                                              • “[p]ast lost wages and
present case, was                                                       future loss of earning
plaintiff counsel in                                                    capacity” 76
List 67)
                           • “‘exemplary damages ... and future       • “exemplary damages” 77
                             relief’” 69
                                                                      • “such other and further
                                                                        relief, to which she may
                                                                        show       himself  justly
                                                                        entitled” 78


   19. Further, a Petition’s reservation of right to amend is another factor that weighs toward a

finding that more than $75,000 is in controversy. 79 Here, Plaintiff expressly reserved the right to


   68
       Id. at *2.
   70
       Original Petition at 3, ¶ 8.
    71
       Id. at 4, ¶ 12.
    65
       2019 WL 480130, at *1.
    66
       Id. at *2, *3.
    67
       Id. at counsel listing.
    69
       Id.
    72
       Id.
    73
       Id.
    74
       Id.
    75
       Id.
    76
       Id.
    77
       Id. at 5, Prayer.
    78
       Id.
    79
       Perez v. Allstate Tex. Lloyd’s, No. EP-16-CV-361-PRM, 2017 WL 3274894, at **4–6 (W.D. Tex.
Jan. 31, 2017) (relying, in part, on Plaintiff’s reservation of right to amend Plaintiff’s Petition in

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amend the amount of monetary relief requested. 80

    20. Likewise, a Petition’s request for Level 3 discovery weighs toward a finding that more

than $75,000 is in controversy. 81 Here, Plaintiff expressly reserved the right to amend the

amount of monetary relief requested. 82

    21. Thus, it is facially apparent from the Petition that the amount in controversy exceeds

$75,000.

    22. Thus, based on all of the aforementioned facts, the State Court Action may be removed

to this Court by Defendants in accordance with the provisions of 28 U.S.C. § 1441(a) because:

(i) this action is a civil action pending within the jurisdiction of the United States District Court

for the Southern District of Texas; (ii) this action is between citizens of different states; and (iii)

the amount in controversy exceeds $75,000, exclusive of interest and costs.


                              G. FILING OF REMOVAL PAPERS

    23. Pursuant to 28 U.S.C. § 1446(d), Defendants are providing written notice of the filing of

this Notice of Removal to all counsel of record and is filing a copy of this Notice with the Clerk

of the 129th Judicial District Court of Harris County, Texas, in which this action was originally

commenced.




concluding more than $75,000 was in controversy); Beaver v. NPC Int’l, Inc., 451 F.Supp.2d 1196, 1200
(D. Or. 2006) (listing, among the factors that together led to the conclusion that more than $75,000 was in
controversy, the Complaint’s reservation of right to amend to assert a claim for punitive damages).
    80
       Original Petition at 1, ¶ 1.
    81
        List v. PlazAmericas Mall Texas, LLC, No. CV H-18-4810, 2019 WL 480130, at *3 (S.D. Tex.
Feb. 7, 2019) (stating, “[Plaintiff]’s request for a Level 3 discovery schedule supports [Defendant]’s
argument that the amount in controversy exceeded $75,000.”).
    82
       Original Petition at 2, ¶ 3.

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                                     H. CONCLUSION

   24. Defendants J.B. Hunt Transport Services, Inc. and Ryder Truck Rental, Inc. hereby

remove the above-captioned action from the 129th Judicial District of Harris County Texas, and

requests that further proceedings be conducted in the United States District Court for the

Southern District of Texas, Houston Division, as provided by law.


                                            Respectfully submitted,

                                            MAYER LLP

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                                            Houston, Texas 77027
                                            713.487.2000 / Fax 713.487.2019


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                                              ATTORNEYS FOR DEFENDANTS
                                              J.B. HUNT TRANSPORT SERVICES , INC.
                                              AND RYDER TRUCK RENTAL, INC.




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                              CERTIFICATE OF SERVICE

       On April 9, 2021, a true and correct copy of the foregoing has been forwarded to all
counsel of record as follows:

           Lauren Roberts                 ☐E-MAIL (hector@longorialaw.com)
   Texas State Bar No. 24113720           ☐HAND DELIVERY
   440 Louisiana St., Suite 1400
                                          ☐FACSIMILE
      Houston, Texas 77002
  Email: e-service@daspitlaw.com          ☐OVERNIGHT MAIL
                                          ☐REGULAR, FIRST CLASS MAIL
  ATTORNEY FOR PLAINTIFF                  ☒CM-ECF
                                          ☐CERTIFIED MAIL/RETURN RECEIPT REQUESTED




                                                 /s/ Kevin P. Riley
                                         Kevin P. Riley




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                               EXHIBIT A




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